       "GARY CHAPMAN" [alias]                                       ~ORPOREAL HEREDITAMENTS
       Employee ID# 10000324786                                     :;uE CONVENTION, 5 OCTOBER 1961
       INTERNAL REVENUE SERVICE
       SBSE, Collections - PALS
       1201 Pacific Ave, Suite 550, M/S wsoz
                                                                     LARATIONS,
       Tacoma, WA 98402                                              AND
        USPS - 70192970000171929224
                                                                     TEST
                                               iOT PERMIT IMPOSSIBILITIES
                                                )
                                                )
                                                )
                                                )        L.S.~a....::i~~ci~~~::;::.1r,._.~~':·
                                                                   "ignc only in corn:cr public capacity
                                                                   As beneficiary to the Original Jurisdiction.

NOTICE. The tenn "Original Jurisdiction" herein and in all other documents issued by Paut-
Kenneth: Cromar, means the constitution for the united States of America, anno Domini 1787,
and articles of amendment anno Domini 1791 and other original parent agreements as indexed in
Paragraph Number 12 below.

                             Let Right Be Done, Though The Heavens Should Fall

        I, Paul-Kenneth: Cromar a/k/a Paul-Kenneth of the family :Cromar, in public capacity
as beneficiary to the Original Jurisdiction. being of majority in age, competent to testify, a self-
realized entity, a free, living and breathing Man upon the free soil, an American citizen of the
American Republic, My yeas being yeas, My nays being nays, do hereby state that the truths and
facts herein are of first hand personal research, true, correct, complete, certain, and not
misleading, so help me GOD.

                                             PUBLIC NOTICE
       THIS DOCUMENT GIVES NOTICE TO all Public Officials by and through the
Office of tbe Secretary of State, the United States of America a/k/a UNITED ST ATES a/k/a
U. S. a/k/a UNITED STATES OF AMERICA, and the Office of the Secretary of State, the
State of Utah a/k/a Utah a/ k/a STATE OF UTAH a/k/a UT a/k/a "this State" and to all
whom it may concern, of the DE CLARATIO NS, LAWFUL PROTESTS and other matters
contained herein.


                                   NOTICE OF FOREIGN JURISDICTION
                               TO: ALL U.S. AND STATE AGENTS&: OFFICERS

When this notice is affixed to a premises, aU property therein and aUnc.hed thereto is under the cwtody and
control or the above-noted foreign official and not subject to intru Ion or seizure. The btarer of th1s Notice has
been duly notified to the Department of State pursu11nt to international I w and enjoys immunity from criminal
and civil jurisdjction, arrest and detention. nder internntlonal convention, the bearer should be treated with
r pect nd a ll teps should be taken to prevent tlu k on the bearer's freedom, mobility, Interests and property.
   Law enforcement inquiries may be made to the U.S. Department of State Authentications Office, (202) 647-4000.
        Legalization inquiries may be made to the U.S. Delegation for the Hague Convention, (202) 776-8342.
                             DECLARATIONS
APPELLATION, STATUS, AND FACTS
1.     KNOW ALL MEN BY THESE PRESENTS, Paul-Kenneth: Cromar, a/k/a Paul-
Kenneth of the family : Cromar does hereby state, assert and aver all of the following:

2.      Paul-Kenneth: Cromar, is a living, breathing free Man upon the free soil, an
American citizen of the American Republic , also known as a declared Utah state national ,
beneficiary to the Original Jurisdiction.

3.      Paul-Kenneth: Cromar, is not a United States Citizen, subject, vessel or "person" as
defined in Title 26 United States Code, Section 7701 or elsewhere, or any other ens legis artificial
person, individual, entity, fiction of law, procedural phantom or juristic personality ,
notwithstanding the reproduction of any such fictions in any media, computer, record or
instrument, written or electronic.

4.      Paul-Kenneth: Cromar, is foreign to the United States and retains official authority
within his chosen jurisdiction. As beneficiary to the Ori ginal Jurisdiction, he is not subject to nor
does He volunteer to submit to or contract with any ens legis artificial or corporate jurisdiction to
which a United States person may be subject.

5.      Paul-Kenneth: Cromar, reserves all Rights, Remedies and Defenses granted to him
by God and memorialized by Paul-Kenneth: Cromar's correct public capacity as beneficiary to
the Original Jurisdiction.

6.       Paul-Kenneth: Cromar, waives no Rights, Remedies or Defenses nor yields
imprescriptible Rights including, without limitation, the Right to movement and travel without
restriction, permission or license in any conveyance of His choosing on any public roadway in
America, and the right to bear arms for the protection of His family , friends and neighbors
without restriction , unless such wavier is specifically done so lawfully in writing.

7.       Paul-Kenneth: Cromar, did not, does not, nor does he ever intend to volunteer,
consent or contract to being identified as, of, or connected by any nexus to , any institutional ,
bifurcated, public cestui que trust or other fictional construction of law or ens legis entity of a
political state or subdivision thereof, in any capacity including, without limitation, as trustee, co-
trustee, surety , co-surety, officer co-officer, fiduciary or co-fiduciary.

8.     Paul-Kenneth: Cromar, reserves the nature and character of his exact and proper
designation as:
                              Paul-Kenneth: Cromar

or in the alternative,

                              Paul-Kenneth of the family , :Cromar.

... which shall be spelled written, formatted, printed, engraved and inscribed now and in
perpetuity in all media exact ly and precisely as just above-written with a first and second given
name separated from , and joined to, a family name by a mark of punctuation or the words "of the


                                                  2
family"; with the first letter of each given and family name being capitalized and all other letters
being written in lower case fully in accord with the Rules of English Grammar.

9.      Trade Mark notice. The name Paul-Kenneth: Cromar by common law is Trade
Marked TM and all trade names and derivatives thereof, whether or not registered, are Trade
Marked TM by and property of Paul-Kenneth: Cromar, to whom all rights are reserved. The use
thereof without the express written permission of Paul-Kenneth: Cromar, creates a voluntary
and informed consensual contract obligating the unauthorized user to the payment of a Trade
Mark infringement fee as follows:

A Trade Mark infringement fee in the sum certain of two-hundred fifty-thousand dollars
($250,000.00) lawful specie, gold, or si Iver, American mint, or certified bullion, Lawful coin
money at current spot market price pursuant to the Constitution for the united States of America,
1787 anno Domini , amended anno Domini 1791 , Article 1, Section 10, Clause 1, shall apply to
each unauthorized use of the designation Paul-Kenneth: Cromar, and to each attempt or event
of conversion, alteration, distortion and/or misnomer whether by improper spelling, abbreviation,
capitalization, initializing, reversal of parts, or conversion to a fiction of law or other juristic
personality or artificial being.

10.     Clause 1, shall apply to each unauthorized use of the designation Paul-Kenneth:
Cromar, and to each attempt or event of conversion, alteration, distortion and/or misnomer
whether by improper spelling, abbreviation, capitalization, initializing, reversal of parts, or
conversion to a fiction of law or other juristic personality or artificial being.

11 .    The legal doctrine of idem sonans is inapposite to Paul-Kenneth: Cromar, whether
oral or written; all such improper usages and misnomers comprising infringement on the above-
noticed copyright.

12.     Paul-Kenneth: Cromar, does hereby accept the Original Jurisdiction , to wit:

        A.       Constitution for the united States of America, anno Domini 1787,
                 Articles of Amendment anno Domini 1791 ;

        B.       National Bill of Rights , anno Domini 1776;

        C.       The Northwest Ordinance, anno Domini 1787

        D.       Constitution of Utah, anno Domini 1896;

        E.       Bill of Rights for Utah, anno Domini 1896;

13 .     Paul-Kenneth: Cromar, does hereby further state, assert and aver the following facts:

         a.   It is well established the Hague Regulations and Geneva Convention IV specifically
         protect the original jurisdiction from encroachment upon internationally protected people.

         b.    Furthermore, it is well established under public policy that citations, legislations,
         prescriptions and other comprise a cloak to disguise collateral undertaking in U.S. Funds.
         All such offers want for authority under original organic State Constitutions pursuant to
         which they are forbidden and can never be duly enacted.

         c. The U.S. a/k/a the United States is defined as a federal corporation at Title 28 USC
         3002(15).

                                                  3
       d. The United States is bankrupt pursuant to Perry v. United States, 294 US 330-381
       (1935) ; 79 L. Ed 912.

       e. United States is an obligor/grantor to the Federal Reserve Bank pursuant to the Federal
       Reserve Bank Act of December 23 , 1913, 38 Stat 265, Ch. 6.

       f. The said Federal Reserve Bank Act comprises a contractual granting by Congress to
       the Federal Reserve Bank of a paramount and enduring (ex-warrant 1913-1933) lien on
       the assets of the United States and all parties who would use bank notes issued by the
       Federal Reserve Bank pursuant to 38 Stat 265 , Ch. 6 p266-267.

       g. The Congress of the United States, by authority of the Gold Bullion Coin Act of 1985,
       PL 99-185 , December 17, 1985 , 99 Stat 1-177 has decreed its intention that all Americans
       can no longer be forced into an obligor/grantor status in relation to said Federal Reserve
       Bank Notes.

       h. The Constitution for the united States of America, 1787, Article 1, Section 4, Clause 2
       ( 1856) states that Congress shall assemble at least once in every year, which shall be the
       first Monday of December. Notwithstanding, Amendment XX , Section 2 (l 933) states:
       "The Congress shall assemble at least once in every year, and that such meeting shall
       begin at noon on the third day of January, unless they by law appoint a different day. "


14.     The Constitution cannot be in conflict with itself. The de Jure legislature of the united
States of America identified as " Congress" in the aforementioned Article 1, Section 4, Clause 2
 1856) adjourned ''sine die " in 1861. Evidence of its reconvening in the absence of a
congressional quorum has not been exhibited by the United States. The national legislative body
discernible in Amendment XX, Section 2 first appeared in 1863 by executive resolution as a
department of the Executive Branch of government pursuant to " Emergency War Powers." This
de facto " Congress" was conceived and continues to sit at the pleasure of the president of the
corporate ens legis UNITED ST A TES.

15.    The de jure private people who, by their inherent character in rerum natura, are foreign
to and wholly without the corporate ens legis United States are not subject to the actions, acts
and whims of the ens legis Congress of the corporate UNITED STATES. Accordingly, living
Men in rerum natura are not subject to the Federal Reserve Bank Act of December 23 , 1913
which wants for force and effect of law in the Original Jurisdiction.

16.     Disclosure of the facts and frauds stated herein has been denied to Paul-Kenneth:
Cromar, in his rightful capacity as beneficiary of the Original Jurisdiction by an extraordinary
and persistent policy of covin, conspiracy, and collusion constructed and condoned by the
UNITED ST ATES Congress, Amendment XX , the Federal Reserve Bank/System , and
contractors, agents, assigns , successors, heirs, representatives, obligors and grantors thereof.

17.      It is well settled in law that " no right, by ratification or other means , can arise out of
fraud. " Fraud vitiates everything it touches. There exists no lawful statute of limitation on fraud.

18 .    By this PUBLlC NOTICE, DECLARATIONS AND LAWFUL PROTEST, the
followin g addendum is attached by reference here in in its entirety to any and all Federal Reserve
Notes, public policy instruments, and documents regardless of kind arising from or relating to the
Federal Reserve Bank/System which are held, received or used by Paul-Kenneth: Cromar, now
and in perpetuity:

                                                 4
     "The use of this instrument/conveyance by Paul-Kenneth: Cromar, is of
      necessity only and under Lawful Protest, nunc pro tune to December 23,
      1913, in the absence of a reasonable alternative."

19.     The labor of Paul-Kenneth: Cromar, is measured and valued quantum meruit
exclusively in gold and silver coin. As the value of such labor is tangible, it cannot be measured
by any instrument which serves as evidence of debt, notwithstanding that the operational currency
of the corporate UNITED ST A TES consists exclusively of instruments noted thereon to be
evidence of liability .

20.      Paul-Kenneth : Cromar, hereby expressly states his intention to pay, extinguish and
satisfy all of His obligations and make all parties whole. Accordingly, Paul-Kenneth: Cromar,
specifically disavows the use of "discharge" as a fraudulent transaction which implies payment
but serves to covertly transfer the debts of Paul-Kenneth: Cromar, to other parties contrary to
Paul-Kenneth: Cromar, deeply held Scriptural beliefs under God regarding theft and deceit.

21.      aul-Kenneth: Cromar, is not now and has never been a United States Citizen under the
Fourteenth and Sixteenth Amendments of the ens legis Constitution for the corporate UNITED
ST A TES, notwithstanding any failures to ro erl ass the said amendments into law.

22.   Paul-Kenneth: Cromar, has the absolute unalienable Divine right to keep and bear
arms of any kind for protection of Self, family, and neighbors, by his own will and this
DECLARATION.

23 .    Paul-Kenneth: Cromar, has the absolute unalienable Divine right to move and
travel upon all public roadways in America, of whatever kind and nature, in whatever mode or
carriage of transportation He may choose, without license or permission or any other
infringement of that right, by His own will and this DECLARATION .

24.     In addition to all of the above, Paul-Kenneth: Cromar, retains all of the Rights as
enumerated and protected by the constitutions, bills of rights , and ordinance pursuant to the
Original Jurisdiction.



LAWFUL PROTEST
As it is a crime to conceal a crime and conceal a fraud, Paul-Kenneth: Cromar, makes
Lawful Protest against, abjures, denounces, refuses, takes exception and does not assent to:

I.     The formation of any institutional , bifurcated, public, cestui que trust in violation of the
copyright of Paul-Kenneth: Cromar, previously declared herein .

2.        Any allegation or presumption that Paul-Kenneth: Cromar, has consented expressly or
tacitly to being a Citizen pursuant to the Fourteenth and/or Sixteenth Amendment of the ens legis
Constitution of the UNITED ST A TES.

3.      Any pledge, mortgage, lien or encumbrance by the Council of State Governors, March 6,
1933 which would identify Paul-Kenneth: Cromar, as a security, surety, co-surety or collateral
for any part or portion of the public debt which has been hypothecated by the use of counterfeited
Federal Reserve securities.
                                                 5
4.      The forced involuntary use of U.S. funds such as Federal Reserve Bank/System notes,
commercial liability instruments and electronic liability transactions as part of a scheme to
compel the principals to impart artificial commodity value to the liability evidenced thereon, on
the authority of MacLeod v. Hoover, (June 22, 1925) No. 26395 , S. Ct. Louisiana; 105 S. Rep.
305, that court citing U.S. Bank v. Bank of Georgia, 23 U.S. 333 , IO Wheat, 333 , 6 L. Ed. 34.

5.       Any presumption that Paul-Kenneth: Cromar, has volunteered to be a debtor in
possession of Federal Reserve Notes with expectation of a quid pro quo; a guarantor/surety/co-
surety on the lien created by the Federal Reserve Bank Act of December 23, 1913; a party to any
confidence game, scheme, forced or cestui que use whereby paper wanting inherent value is
placed into circulation by the Federal Reserve Banks in lieu of Constitutionally required gold or
silver; a party to the failure of public officials and Federal Reserve principals to provide full
disclosure of the liabilities and perils of using private scrip, instruments of debt, corporate U. S.
obligations, and Federal Reserve Notes as inauthentic replacements for lawful money.

6.      Any presumption that Paul-Kenneth: Cromar, has at any time expressed or implied a
promise to guarantee the debt hypothecated by the said Federal Reserve Act, the private debt of
the corporate UNITED STATES, or any obligations of the Federal Reserve Banks, agents ,
contractors, assigns, successors, heirs and grantors thereof, now and in perpetuity .

7.        Any presumption that Paul-Kenneth: Cromar, has at any time volunteered expressly or
tacitly to join as a co-conspirator in any fraud , conspiracy, covin, collusion, confederation or joint
business venture operated by the de facto ST ATE OF UT AH and the corporate ens legis
UNITED ST ATES as a surety, co-surety, guarantor or other obligor.

8.        Any attempt to induce Paul-Kenneth: Cromar, to act as a tort feasor to the Constitution
for the united States of America, anno Domini 1787, where at Article 1, Section 10, it states "No
State shall ... emit bills of credit; make anything but Gold and Silver Coin a tender in payment of
debts ," all such offers being refused for fraud.

9.       Pursuant to the Original Grant of Depositum for Bailment via the 1896 Constitution of
UT AH, Paul-Kenneth: Cromar, makes Lawful Protest against, abjures, denounces , refuses ,
takes exception and does not assent to the calculated use of legal fictions to undermine and
convert the political Will of the People on the free soil of the organic country known as Utah into
a legislative democracy that transforms the free People into subjects of the municipal law of
foreigners within the geographical exterior boundary of Utah and contrary to the Northwest
Ordinance and the original Grant of the People, September 17, 1787, anno Domini , as amended
1791 , anno Domini.



MANDATES
IT IS HEREBY EXPRESSLY MANDATED TO IMMEDIATELY:

1.      RETURN THE DEPOSITUM FOR BAILMENT to Paul-Kenneth: Cromar, in his
capacity as descendent by blood of the original Bailor/Grantor/Settlor and his endowment to
warrant same by Almighty God, pursuant to the terms , conditions, stipulations, exceptions and
reservations contained within the Original Grant.



                                                   6
2.       ACKNOWLEDGEMENT, RECOGNITION AND RETURN BY THE BAILEE OF
THE SAID DEPOSITUM OF BAILMENT to Paul-Kenneth: Cromar, as repository trustee
for the Original public Trust.

3.      EXHIBIT THE AUTHORITY whereby Paul-Kenneth: Cromar, can be compelled,
forced or enticed to falsely act as a tort feasor to Article 1, Section I 0, Clause 1 of the Original
Grant against his will by using the aforementioned fictional bank notes within a scheme of
discharge disguised as payment. Failure to so exhibit within fifteen ( 15) days of PUBLIC
NOTICE comprises stipulation that no such authority exists.

4.      EXHIBIT THE AUTHORITY whereby Paul-Kenneth: Cromar, can be compelled,
forced or enticed to falsely present himself as a United States Citizen/person in violation of the
Fourteenth and Sixteenth Amendments prohibition against slavery and involuntary servitude.
Failure to so exhibit within fifteen (15) days of PUBLIC NOTICE comprises stipulation that no
such authority exists.

5.        ADMIT OR DENY that all actions of the UNITED ST A TES, the ST ATE OF Utah and
all political subdivisions thereof whether judicial, administrative, municipal, county or otherwise
are by their nature actions indebitatus assumpsit. Failure to respond within thirty (30) days of
PUBLIC NOTICE comprises admission of an ongoing Fraud against the beneficiaries of the
Original Jurisdiction.

        " Suits as well as transfers may be the protective coverings of fraud," Steelman v. All
        Continent Corp. , 301 US 278 , 81 L. Ed 1085; Shapiro v. Wilgus, 287 U.S. 348 , 355, 53
        S. Ct. 142, 144, 85 A.L.R. 128. "The fact that the means employed to effect the
        fraudulent conveyance was the judgment of a court and not a voluntary transfer does not
        remove the taint of illegality," First National Bank v. Flershem, 290 US 504, 78 L. Ed.
        465 . " ... it is obvious that the fraud did not occur in open court nor in that sense enter
        into the decrees under attack, hence the fraud of which we complain was not susceptible
        to insulation. In the language of Shapiro v Wilgus, 287 US 348, 77 L. Ed 355. It was part
        and parcel to a scheme whereby the form of a judicial remedy was to supply a protective
        cover for a fraudulent design." Also, Steelman, supra Flersham, supra, Braun, supra.,
        "That in the absence of an adversary trial or decision the distinction between extrinsic
        and intrinsic fraud becomes immaterial and made clear by the following from the
        Throckmorton opinion ," 98 US 61, 65 , Braun, supra.

6.      EXHIBIT VERIFIED EVIDENCE proving the time, place and nature of full disclosure
of the benefits, risks and perils by which Paul-Kenneth: Cromar, could knowingly volunteer
to submit to the Federal Reserve Bank Act of 1913. Failure to so exhibit within thirty (30)
days of PUBLIC NOTICE comprises stipulation that no such disclosure was made.

7.      ADMIT OR DENY that Paul-Kenneth: Cromar, did in fact knowingly and
voluntarily ratify the cestui que trust created by the UNITED ST A TES through the Federal
Reserve Bank Act of 1913 which resulted in the use of grammatical derivations of Paul-
Kenneth: Cromar's name in a scheme of intentional misnomer for profit and gain. Failure
to respond within thirty (30) days of PUBLIC NOTICE comprises denial that the cestui que
trust created by the UNITED ST ATES through the Federal Reserve Bank Act of 1913 was
ever duly and lawfully ratified by and any assum tion of such ratification is false.

8.       EXHIBIT VERIFIED EVIDENCE proving the knowledgeable and voluntary
ratification and acceptance by Paul-Kenneth: Cromar, of the aforesaid cestui que trust.
Failure to so exhibit within thirty (30) days of PUBLIC NOTICE comprises stipulation that
the said cestui que trust was never ratified by Paul-Kenneth: Cromar, and any assumption
of such ratification is false.
                                               7
9.      EXHIBIT VERIFIED EVIDENCE proving the granting of a copyright license by
Paul-Kenneth: Cromar, expressly conveying to the licensee the authority to use
grammatical derivations of the proper name belonging to Paul-Kenneth: Cromar, in a
scheme of intentional misnomer for profit and gain through an unauthorized cestui que
trust. Failure to respond within thirty (30) days of PUBLIC NOTICE comprises stipulation
that all such misnomers and uses of the aforesaid cestui que trust comprise intentional
copyright infringement.                                                              ·

10.     I Paul-Kenneth: Cromar, do hereby deny having received disclosure of the
existence, benefits, risks and perils of a cestui que trust named derivatively at any time, or
having been asked to ratify the said trust. Consequently, I do hereby deny, denounce,
adjure and disavow having ever ratified any such trust.

11.     I Paul-Kenneth: Cromar, Beneficiary of the cestui que trust, rejects and never acce_pted
Offer to contract and does not consent to any proceedings.

12.     I Paul-Kenneth: Cromar, beneficiary of cestui que trust mandate "GARY
CHAPMAN" [alias] Employee ID # 10000324786, providing Paul-Kenneth:
Cromar, AND Barbara-Ann: Cromar, with a written DECLARATION OF
APOLOGY for aiding and abetting the denying of Constitutional rights to due
process, hearing, trial by jury and justice, be drafted and signed by you, notarized,
then be recorded on the property through the Utah County Recorder, with this
original being mailed to the address below via NEXT DAY USPS mail. If this
mandate is not met, a penalty of ten thousand ($10,000.00) dollars a day will be
enforced until such time the debt is paid in full, County record corrected, apology
filed thereon, plus $1000 per day penalty until fee is paid in full.

 13. I Paul-Kenneth: Cromar, beneficiary of cestui que trust do hereby instruct, Flesh-
and-Blood " GARY CHAPMAN" [alias] Employee ID# 10000324786, being an officer
of the CORPORATION cannot use the name of Paul KENNETH CROMAR, m any
form, it is a felony in the Utah State.

14. I Paul-Kenneth: Cromar, beneficiary of the cestui que trust, do not have a
contract with any court of the UNITED STATES. If threatened in any manner, I Paul-
Kenneth: Cromar, in the Body of Flesh-and-Blood by MR. JOHN W. HUBER, MR.
RY ANS . WATSON, MR. D. MARK JONES, MR. RICHARD E. ZUCKERMAN, MR.
JOHN K. MANGUM, MR. ROBERT J. SHELBY, MS.EVELYN J. FURSE, MR.
TIMOTHY D. DeGIUSTI, MS. WANDA I. MANLEY, MS . NANCY K. PHILLIPS, and
MS. JOAN FLACH OR JOAN FLACK, any Corporate employee, or any other suspected
criminals not named here now, charge for such fraud at Seventy-Five Thousand
($75 ,000.00) DOLLARS per officer, official or living individual. If any perceived
threats are manifest, all the people above may be exposed to investigation and
prosecution for possible RICO violations, and all the fines , penalties and imprisonment
there under.

15 .  I Paul-Kenneth: Cromar, beneficiary of cestui que trust mandate that "GARY
CHAPMAN" [alias] Employee ID # 10000324 786, show that the corporate regulations
have authority over the BODY of Flesh-and Blood of Paul-Kenneth: Cromar. And
                                               8
since the corporation of the UNITED STATES has no authority over the Body of Flesh-
and Blood, now fraud and swindle in dishonor, and extortion charges, do now apply since
trying to bring me into contract with the corporation of the UNITED STATES, a penalty
of ONE HUNDRED FIFTY THOUSAND DOLLARS ($150,000.00) now applies to the
Corporation of the OFFICE of ADMINISTRATIVE HEARINGS a subsidiary of the
UNITED STATES Corporation for the distress that has been incurred to me in the Body
of Flesh-and Blood.

16.    I Paul-Kenneth: Cromar, beneficiary of cestui que trust mandate that "GARY
CHAPMAN" [alias] Employee ID # 10000324786, rovide a certified copies signed
under the pains and penalty of perjury, of his Oath of Office, his Anti-Bribery Statement,
his Foreign Agents Registration Act disclosure (see FARA.gov), and his bond number
and bonding com any name, address, hone and agent contact, sent via NEXT DAY
USPS in c/o the mailing address below.

17.    I Paul-Kenneth: Cromar, beneficiary of cestui que trust mandate that "GARY
CHAPMAN" [alias] Employee ID# 10000324786, provide certified financial audit and
record audit of ALL Department of Justice records surrounding any case, including but
not limited to filings , phone logs, texts, emails, audio and/or video recordings, payment,
payer and/or payee name(s), bonds, claims, off-sets, and ALL associated cataloguing
numbers - signed declaring if 100% accurate under the pains and penalty of perjury that
nothing related to Paul-Kenneth: Cromar, and/or Barbara-Ann: Cromar, since January 1,
2007 to the present day delivery of above items, has been withheld - in both hard copy
and electronic - be sent via NEXT DAY USPS mail in c/o the mailing address below.

18. If these mandates are not met in a timely basis, then arrests BY the appropriate
authorities, at the appropriate time after 30 days will be made. I Paul-Kenneth: Cromar,
hereby MANDATE "GARY CHAPMAN" [alias] Employee ID # 10000324786,
immediately resign without retirement pay for aiding and abetting fraud and swindle in
dishonor - thus denying JUSTICE.

19. I Paul-Kenneth: Cromar, Beneficiary of the cestui que trust, do hereby instruct
MR. WILLIAM P. BARR attorney general of UNITED ST ATES corporation, and
responsible for all government DOJ corporate employees for the UNITED ST ATES, to
hereby enforce all above mandates. If these mandates are not met within thirty (30) days
from the date of receipt of this PUBLIC NOTICE, DECLARATIONS, MANDATES
AND LAWFUL PROTEST, all individual names mentioned in this document will be
submitted to the US Marshals and/or the Utah County Sheriff for action.



CAVEAT LAW - SUPREME COURT CASES
 I.     Al l public officials, Officers of government bodies politic, in all branches/depa11ments ,
Exec utive, Legislative, or Judicial , being of Oath of Office, bonded to fidelity , are und er
ministerial duty, Supervisors v. United States ex rel. 71 U.S. 435, 4 Wall 435 , U .S . v. Thomas,
15 Wall 337, U.S. v Lee, 106, US 196, IS . Ct 240, fiduciary /trustees , U.S . v Carter, 2 17 US 286,
30 S. Ct 515 . "The implication of a trust is the implication of every duty proper to a trust ...
Whoever is a fiduciary or in co nscience chargeable as a fiduciary is expected to live up to them."
                                                 9
Buffum v Peter Barceloux Co. 289 US 227, 237; 77 L. Ed 1140, 1146, cited Braun v. Hansen,
I 03 F .2d 685 ( I 939), wherein it further states " Being fiduciaries , the ordinary rules of evidence
are reversed", must obey the law, Butz v. Economou, (US) 98 S Ct. 2895, Davis v Passman
(1979, US) 442 US 226, 99 S. Ct. 2264.

2.      "The law will protect an individual who, in the prosecution of a right does everything
which the law requires him to do but fails to obtain his right by the misconduct or neglect of a
 ublic officer." Lyle v Arkansas , 9 Howe 314, 13 L. Ed 153, Duluth & Iron Range Co. v Roy ,
173 US 587, 19 S. Ct 549, 43 L. Ed 820. "It is a maxim of the law , admitting few if any
exceptions, that every duty laid upon a public officer for the benefit of a private person, is
enforceable by judicial process" . Butterworth v U.S. ex rel. Hoe, 112 US 50, 5 S. Ct 25 , 28 L. Ed
656 .

3.       "A ministerial officer is liable for an injury done, where his acts are clearly against the
law." Tracy v. Swartwout, IO Pet. 80, 9 L Ed 354. "The judicially fashioned doctrine of official
immunity of judicial, legislative or executive officers does not reach so far as to immunize
criminal conduct prescribed by an Act of Congress." O ' Shea v. Littleton, 414 US 488, 94 S Ct.
669, " in equity there are certain rules prohibiting parties bearing certain relations to each other
from contracting between themselves; and if parties bearing such relations enter into contracts
with each other, courts of equity presume them to be fraudulent, and convert the fraudulent party
into a trustee. " Perry on Trusts (ih Ed) Sec. 194, in Braun v Hansen (1939) 103 F 2d 685. Under
the doctrines of res gestae, res ipsa loquitur, respondeat superior, as now having prior
knowledge, authority , power, opportunity to prevent or aid in preventing injury, damage, having
been or about to be committed. Title 42 USCS Section 1986, as applies to public officials,
Officers, by the existence of an agreement between two or more persons, acting in a private
conspiracy , McNalley v Pulitzer Pub. Co. ( I 976) 532 F 2d 69, 429 US 855 , 50 L Ed 2d 131 , to
conspire, through said conspiracy , to impede or hinder, or obstruct or defeat the due course of
justice in a State or Territory , with the purposeful intent to deny the equal protection of the law,
under color of State law or authority , or other, Griffin v. Breckinridge ( 1971) 403 US 88, 9 I S Ct.
 1790, depriving of having or exercising a Right, Federal Conspiracy to Obstruct Justice Act (Title
42 USCS Section 1985(2), deprivation of due process, even by federal officials, Williams v.
Wri ght (1976) 432 F Supp 732 , Founding Church of Scientology v Director, FBI (1978)459 F
Supp 748 , 98 L Ed 2d 150, I 08 S Ct I 99, even District Attorneys, Rouselle v Perez ( 1968) 293 F
Supp 298 , places upon you the badges of fraud , prior knowledge , superior knowledge of the law,
will of intent, perjury of Oath of Office, constructive treason, bad faith , breach of
fiduciary/trustee responsibility, whereupon " Being fiduciaries, the ordinary rules of evidence are
 reversed," ( 1939) 103 F 2d 685. Further, being advised , as in Ex Parte v Young, 209 US 123
( 1908), "The attempt of a State Officer to enforce an unconstitutional statute is a proceeding
without authority of and does not effect, the State in its sovereign or governmental capacity,
and is an illegal act, and the officer is stripped of his official character and is subject in his
person to the consequences of his individual conduct. The State has no power to impart to
its officer immunity from responsibility to the supreme authority of the United States."
(Emphasis added.)

Support NOTES from lower courts: From Perry on Trusts, (7th ed), Sec. 851 " . .. in order that
the release, confirmation, waiver, or acquiescence may have any effect .. .. The cestui que trust
must also know the Law, and what hi s ri ghts are, and how they wou Id be dealt with by the
court." The Supreme Court of Arizona in Garrett v Reid Cashion Land, 34 Ariz 245 , 270 P. 3044
at page 1052 quotes thus from Adair v Brimmer, 74 NY 539 "Confirmation and ratification imply
to legal minds, knowledge of a defect in the act to be confirmed, and the right to reject or ratify it.
The cestui que trust must therefore not only have been acquainted with the facts, but appris ed by
the law, of how these facts would be dealt with by a court of equity, All that is implied in the act
                                                   10
of ratification, when set up in equity by a trustee against his cestui que trust, must be proved, and
will not be assumed. The maxim ' ignorantis legis excusat neminem' cannot be invoked in such a
case. The cestui que trust must be shown to have been apprised of his legal rights."
(Emphasis added.) Also from Ungrich v Ungrich, 115 NYS 413 , 417, "The rule (is) that to fasten
ratification upon a cestui que trust he must not only have been acquainted with all the facts, but
apprised also in the law, and how such facts would be dealt with by a court of equity." Likewise,
Thaw v Thaw, 27 Fed 2d 729, US v Carter, 217 US 286, 54 L Ed 769, Wendt v Fisher (Cardozo,
J.) 234 NY 439, 154 N.E. 303 , Leach v Leach, 65 Wis. 284, 26 NW 754.

4.        The delay in discovery of the Frauds stated herein pursuant to Amendment XX provides
no defense to the remedy , !aches or otherwise. Michoud v Girod, 4 How 503 ,@ 561 , 11 L Ed
1076, Pomeroy ' s Equity, Sec. 847, Wiget v Rockwood 69 F @d 326, et seq., and from Texas &
Pacific Ry , v Pottorff, 29 I US 245, 78 L Ed 777, in Braun, supra, "the doctrine is thus affirmed.
It is the settled doctrine of this court that no rights arise on an ultra vi res contract, even though the
contract has been performed; and this conclusion cannot be circumvented by erecting and
estoppel which would prevent challenging the legality of a power exercised." And from US v
Grossmayer, 9 Wall 72, 19 L Ed 6 27, "A transaction originally unlawful cannot be made any
better by being ratified. " And , further, following Braun, supra, " It is held axiomatic that no right,
by ratification or other means, can arise out of fraud. " 13 C.J. 492, Sec. 440, 6 R.C. L. , p 698, the
                                                           rd
following is quoted in Thompson on Corporations, 3 Ed Sec. 2828, from Central Transportation
Co. v Pullman Palace Car Co. , 139 US 24, as established doctrine of the Supreme Court, "No
performance of either side can give the unlawful contract any validity, or be the foundation of any
right of action upon it. " As said long ago by the great Justice Story in Prevost v Gratz, 6 Wheat
481 , 497 ; 5 L Ed 311 , 315 , "It is currently true that length of time is no bar to a trust clearly
established; and in a case where fraud is imputed and proved, length of time ought not,
upon principles of eternal justice, to be admitted to repel relief. On the contrary, it would
seem that the length of time during which the fraud has been successfully concealed and
practiced, is rather an aggravation of the offense, and calls more loudly upon a court of
equity to grant ample and decisive relief." (Emphasis added.)

5.       It is a maxim of law that peonage and involuntary servitude are forbidden , and immunity
is denied to any party, real or imagined, person or public official who would or conspire to
traffic in slaves or participate in aiding or abetting. Clyatt v US, 197 US 207 ( 1905), Plessy v
Ferguson, 163 US 537, 542, " Whoever [Title 18 U.S.C. Sec.1581] holds or returns any person to
a condition of peonage, or arrests any person with the intent of placing him in or returning him to
a condition of peonage, shall be fined not more than $5 ,000.00 or imprisoned not more than five
years ."

6.       All public officials in receipt of this notice are required by their Oath of Office to
answer. Notification of legal responsibility is " the first essential of due process of law" Connally
v. General Construction Co., 269 U.S. 385,391. " Silence can only be equated with fraud where
there is a legal or moral duty to speak or when an inquiry left unanswered would be intentionally
misleading." U.S. V. Twee! , 550 F.2d.297 . It is the ministerial fiduciary /trustee duty of each and
every government official , officer, agent, contractor and assign of the UNITED ST ATES , the
ST ATE OF UT AH, the Federal Reserve Banks/System , the International Monetary Fund , the
Internationa l Finance Corporation, the International Bank for Reconstruction and Development,
the Inter-American Development Bank, the World Bank, the Commission of the European
Communities, the Organization for Economic Co-operation and Development, the United Nations
and any and all other obligors/grantors who view this notice (" Respondents") to timely and full y
answer, Federal Crop Insurance v Merrill (1947) 33 2 US 380. , 92 L Ed 10, 68 S Ct I, 175 ALR
 1075.


                                                    11
7.       The period for Respondents to respond to this notice is thirty (30) days. Any party or
public official wishing to answer, respond, refute, rebut, deny, object or protest any statement,
term , declaration, denial or provision in this presentment must do so by Lawful Protest within
thirty (30) days of the date of issuance or forever lose all rights , titles, interests, and the
opportunity to plead. All such responses must be verified and have exhibitions and factual
evidence in support annexed thereto.

8.       Respondents may agree with all statements, terms, declarations, denials and
provisions herein by remaining silent. Failure to timely respond to all such terms and
provisions with which Respondents disagree comprises Respondents' stipulation and confession
jointly and severally to acceptance of all statements, terms , declarations, denials and provisions
herein as facts , the whole truth , correct and fully binding on all parties.

9.      This document serves as Notice of Fault in the event Res ondents fail to timely
respond.

10.      Notice of Default shall be issued no sooner than three (3) days after Notice of Fault.
Default is final three (3) days after Notice of Fault is issued. Default comprises Respondents
consent jointly and severally to be named as defendant(s) in various actions, administrative and
judicial

11.     Upon Default, all matters are settled res judicata and stare decisis.

12.      Default comprises an estoppel of all actions, administrative and judicial, by
Respondents against Paul-Kenneth: Cromar, 31. Pomeroy, Equity Jurisprudence Section 805, p.
192, Restatement 2d of Torts Section 894( 1) (1979), and now reasonably relied on, Wilbur
National Bank v US 294 US 120, 124-1 25 (1935), due to misconduct by Government agents
Heckler v Community Health Services, 467 US 51 , at 59, 60, Federal Crop Ins., supra. " It [the
doctrine of Estoppel by Silence] arises where a person is under duty to another to speak or failure
to speak is inconsistent with honest dealings ." In Re McArdles Estate, 140 Misc. 257 , et seq. ,
and Silence, to work estoppel , must amount to bad faith. Wise v USDC Ky. , 38 F Supp 130, 134,
where duty and opportunity to speak, Codd v Westchester Fire Ins. Co. 14 Wash. 2d 600, 128 P
2d 968 , 151 ALR 316, creating ignorance of facts , Cushing v US Mas s, 18 F Supp 83 , inducing
person claiming estoppel to alter his position, Braunch v Freking, 219 Iowa 556, 258 NW 892,
knowledge of facts and of rights by person estopped, Harvey v Richard , 200 La. 97 , 7 So. 2d 674,
willful or culpable silence, Lenconi v Fidelity Trust & Savings Bank of Fresno, 96 Cal. App. 490,
273 P. 103 et seq. , " Silence" implies knowledge, and an opportunity to act upon it, Pence v
Langdon, 99 US 578 @ 581 , et seq .

13.     Under the Clearfield Doctrine, derived from the 1943 Supreme Court Decision in
Clearfield Trust, et al. vs. United States, (328 U.S. 363 , 318), the court ruled, in essence, that
when a government reduces itself to a corporate status, it becomes merely: another cor oration,
having no more nor less standing than all other corporations.

15.    The UNITED STATES Supreme court in 2000 ruled, Bond vs. UNITED
STATES 529 US 334-2000, held that the people are in fact Sovereign and not the
STATES or government. The court went on to define that local, ST ATE and FEDERAL
law enforcement officers are committing unlawful actions against the Sovereign
peo le by the enforcement of laws and are personally liable for their actions.


                                  DISCLAIMER
                                                 12
THE QUOTATION OF THE PRIVATELY COPYRIGHTED STATUTORY
LEGISLATIVELY CREATED CASE LAW AND STATE AND FEDERAL STATUTES
PURSUANT TO PL 88-244, DECEMBER 30, 1963, IS DONE WITHOUT INTENT TO
CREATE A "USE", VIOLATE ANY PRIVATE COPYRIGHT, OR GIVE LEGAL
ADVISE TO ANYONE, AND ST ANDS SO UNLESS LAWFULLY PROTESTED BY ANY
CONCERNED PARTY(IES)

Notice to the principal is notice to all agents. Notice to an agent is notice
to all principals. By this Public Notice, Declarations, Mandates and
Lawful Protests the world is now informed.




BE IT SO EXECUTED , and by this execution, be made to appear, in-deed, enacted, decreed ,
This the ----1t:_day of the _filh__ month, anno Domini , two thousand and _1Q_, Amen.




                                         Paul-Kenneth: Cromar.
                                         c/o 9870 north meadow drive.
                                         Cedar Hills
                                         Utah [ 84062 ]


    CC: MR. WILLIAM P. BARR acting as Attorney General
       MR. GARY HERBERT acting as Utah Governor
       United States Marshals office - Sa lt Lake C ity
       Ryan Bundy
       Ammon Bundy
       Shawna Cox
       US District Court President Trump appointed Judges:
               Judge Howard C. Nielson Jr. - (2019 to present)
               Judge David 8. Barlow - (2020 to present)
                (as potential witnesses / investigators to their court' s un-Constitutional mischief)
       Utah Senator Mike Lee




                                                 13
